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                                                                                            E-FILED
                                                              Wednesday, 20 July, 2022 04:04:22 PM
                                                                     Clerk, U.S. District Court, ILCD

                 UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

DERICK BROWN, ATIBA FLEMONS, )
& JEFFREY TAYLOR, on behalf of            )
themselves and others similarly situated, )
                                          )
      Plaintiffs,                         )        Case No. 2:19-cv-02020
                                          )
            v.                            )
                                          )
THE BOARD OF TRUSTEES OF THE )
UNIVERSITY OF ILLINOIS,                   )
                                          )
      Defendant.                          )

                                       ORDER

      In light of this Court’s recent decision in Kainz v. Ill. Dep’t of Corr., 1:21-cv-

01250, Doc. 88, the Court directed the parties to submit briefing as to whether that

holding has any effect on Plaintiffs’ claims under the Illinois Civil Rights Act (ICRA)

or the memoranda on the pending Motion to Certify Class. The parties submit the

holding has no effect on their respective positions on class certification. As to

Plaintiffs’ ICRA claims, however, Defendant argues the Court’s holding in Kainz—

that employment discrimination claims against the Illinois government must be

brought under the Illinois Human Rights Act (IHRA) rather than the ICRA—

forecloses those claims. (Doc. 71). “Plaintiffs take no position as to the Court’s

interpretation of the ICRA and its ruling concerning the limitations of that statute[.]”

(Doc. 72 at 1). Though, they do make two observations. First, they note Kainz was

decided at the dismissal stage rather than the class certification stage. (Doc. 72 at 2).
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Second, they note Defendant did not raise the preemption question that resulted in

the Kainz holding. (Doc. 72 at 1–2).

      The Court has the ability to sua sponte raise the question whether a legally

deficient claim ought to be dismissed. See Mohammed v. Prairie State Legal Servs.,

Inc., No. 20-2419, 2021 WL 4962988, at *2 (7th Cir. Oct. 26, 2021); Olrich v. Kenosha

Cnty., 825 F. App’x 397, 400 (7th Cir. 2020). Plaintiffs’ observations do not militate

against dismissal. Given the relative novelty of the Court’s holding in Kainz,

Defendant’s failure to raise a preemption defense earlier in this litigation is of no

moment, particularly as the Court is not bound by waiver or concession on issues of

law. Moreover, the stage of the proceedings bears no relevance to whether Plaintiffs’

claims are legally cognizable under the ICRA. In consideration of the parties’ briefing

and the Court’s holding in Kainz, the Court finds Plaintiffs’ ICRA claims must be

dismissed. This case will proceed solely on the Title VII claims.

      IT IS THEREFORE ORDERED that Plaintiffs’ claims under the Illinois Civil

Rights Act (ICRA) are DISMISSED WITH PREJUDICE insofar as they are raised

under the ICRA; Plaintiffs may separately pursue their claims under the Illinois

Human Rights Act if that avenue remains open to them. Additionally, given the

volume of the materials attendant to the Motion to Certify Class, the Parties are

DIRECTED to promptly tender two courtesy copies of their respective materials to

the undersigned’s chambers.




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SO ORDERED.

Entered this 20th day of July 2022.

                                                    s/ Joe B. McDade
                                                 JOE BILLY McDADE
                                           United States Senior District Judge




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